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1
                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
2                                                                 EASTERN DISTRICT OF WASHINGTON




3
                                                                  Sep 25, 2020
                                                                       SEAN F. MCAVOY, CLERK


4

5                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                 NO: 2:20-CR-113-RMP-1
8                              Plaintiff,
                                                 ORDER GRANTING MOTION FOR
9           v.                                   PROTECTIVE ORDER AND
                                                 ACCOMPANYING MOTION TO
10    SALVADOR ORTIZ-CABRERA,                    EXPEDITE HEARING OF THE SAME

11                             Defendant.

12

13         BEFORE THE COURT is the Government’s Motion for Protective Order,

14   ECF No. 31, and accompanying Motion to Expedite Hearing of the same, ECF No.

15   32. There being no objection by Defendant to the entry of the protective order (see

16   ECF No. 31 at 1) the Court finds good cause to grant the Government’s request.

17         Accordingly, IT IS HEREBY ORDERED:

18         1.    The Government’s Motion for a Protective Order, ECF No. 31, and

19   accompanying Motion to Expedite, ECF No. 32, are GRANTED.

20         2.    The Government will provide discovery materials on an ongoing basis

21   to defense counsel;


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1          3.     Discovery materials that contain the voice or image of a confidential

2    source will be made available for defense counsels’ review at the United States

3    Attorney’s Office. Until further Order of the Court, those materials may not be

4    shown to the Defendant or left in the Defendant’s custody;

5          4.     Defense counsel may possess, but not copy (excluding the production

6    of necessary working copies), all discovery materials that do not contain the voice

7    or image of a confidential source, including sealed documents;

8          5.     Defense counsel may show to, and discuss with the Defendant, all

9    discovery materials that do not contain the voice or image of a confidential source,

10   including sealed documents;

11         6.     Defense counsel shall not provide original or copies of discovery

12   materials to the Defendant;

13         7.     Defense counsel shall not otherwise provide original or copies of the

14   discovery material to any other person, including subsequently appointed or

15   retained defense counsel, but excluding any staff of defense counsel or investigator

16   and/or expert engaged by defense counsel, who will also be bound by the terms

17   and conditions of the Protective Order;

18         8.     The Government, defense counsel, and witnesses may reference the

19   existence and content of sealed / protective discovery material in open and closed

20   court proceedings relevant to Case No. 2:20-CR-00113-RMP; provided however,

21   any written reference to the content of the protected discovery shall be filed under


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1    seal.

2            IT IS SO ORDERED. The District Court Clerk is directed to enter this Order

3    and provide copies to counsel.

4            DATED September 25, 2020.

5
                                               s/ Rosanna Malouf Peterson
6                                           ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ACCOMPANYING MOTION TO EXPEDITE HEARING OF THE SAME ~ 3
